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               ATTACHMENT B
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           COMPANY INTELLIGENCE REPORT 2016/080


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          US PRESIDENTIAi ELECTION: REPUBLICAN CANDIDATE DONALD TRUMP'S
          ACTIVITIES IN RUSSIA AND COMPROMISING RELATIONSHIP WITH THE
          KREMLIN



          Summary

                -    Russian regime·has been cultivating, supporting and assisting TRU~P for
                     at least 5 years. Aim, endorsed by PUTIN, has been to encourage sphts and
                     divisions in western alliance

                -   So far TRUMP has declined various sweetener real estate business deals
                    offered him in Russia in order to further the Kremlin's cultivation of him.
                    However he and his inner circle have accepted a regular flow of
                    intelligence from the J<Femlin, including on his Democratic and other
                    political rivals

                     Former top Russian intelligence officer claims FSB has compromised
                    TRUMP through.his activities in Moscow sufficiently to be able to
                    blackmail'him. Accor.ding to several knowledgeable sources, his conduct
                    in ¥oscow has included perverted sexual acts which have been
                    ar~nged/monitored by the F?B


             A dossier of compromising material on Hillary CLINTON has been collated
             by the Russian Intelligence Sewices over many years a~d mainly
            comprises bugged conversations she had on various visits to Russia and
            intercepted phon_e calls rather: than any en:il>anr°'ssing conduct. The
     '-"-~--doss~r is..£.Qntrglled_byJ(remlin wokesman, PESKOY, pirectly Q!l PQTIN.'._s_
            orders. Howeverjt has not as yet be~n distributed abrq~d, including to
            TRUMP. Russian intentions for.its deployment sti11 unclear




          1. Spe<aking to a trus,ted compatriot in June 2~016 sources A ana B a senior
            -                                                                       - ,,, I

                 Russ·ian F.oreign:.~inist~ fig'"1~e ~mU~:.form.en.t0n1level.:iRussaan
                 inte1li_gence·offic~r still attive·Insidethe Kfemlinresp;~tively, the Russian
           r _,,.aut~~riti~~~ad, ~~en cultivatiJlg.and :SliP,JDJlrting-1\tJS Re~uelican

                pres1denti~I cand1date~onald TRUMP for·at least S years. Source B
           . ~sse~~eq Wl;:th~'J1RU~~ ?-Per~tion~y.ras oqth SUP.poi;teq an~tl!iir.ected by .
           __Russ1~n Pres1aent v.Jachmir PUTIN: Its aim~was to sow discord and
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                     disunity both within the US itself, but more especially within the
                     Transatlantic alliance which was viewed as lnimical to Russia's interests.
                     Source c, a senior Russian financial official said the TRUMP operation
                     should be seen in terms of PUTIN's desire to return to Nineteenth
                     Century 'Great Power' politics anchored upon countries' interests rather
                     than the ideals~based international order established after World War
                     Two. S/he had ovetheard PUTIN talking in this way to close associates on
                     several occasions.

            2. In terms of specifics, Source A confided that the Kremlin had been feeding
               TRUMP and his team valuable intelligence on his opponents, including
               Democratic presidential candidate Hillary CLINTON, for several years
               (see more below). This was confirmed by Source D1 a close associate of
               TRUMP who had organized and managed his recent trips to Moscow, and
               who reported, also in June 2016, that this Russian Intelligence had been
               "very helpful". The Kremlin's cultivation operation on TRUMP also had
               comprised offering him various lucrative real estate development
               business deals in Russia, especially in relation to the ongoing 2018 World
               Cup soccer tournament. However, so far, for reasons unknown, TRUMP
               had not taken up any of these.

           3. However, there were other aspects to TRUMP's engagement with the
               Russian authorities. One which had borne fruit for them was to exploit
               TRUMP's personal obsessions and sexual perversion in order to obtain
              suitable 'kompromat' (compromising material) on him. According to
               Source D, wheres/he had been present, TRUMP's (perverted) conduct in
               Moscow included hiring the presidential su1te of the Ritz Carlton Hotel,
              where he knew President and Mrs OBAMA (whom he hated) had stayed
              on one of their official trips to Russia, and defiling the bed where they had
              slept by employing a number of prostitutes to perform a 'golden showers'
              (urination) show in front of him. The hotel was known to be under FSB
              control with microphones and concealed cameras in all the main rooms
              to record anything they wanted to.

           4:. The
                - -Moscow
                    ·     -Ritz Carlt
               confirmed by Source E,                                                          ,
                who said thats/he and several of the staff were aware,ofit at the time
                and subsequently. S/he belieyed {t had h_appened in 2~01-3. Source E
              ·provided an introtluction for-a company.ethnic Russian operative to ·
             . Source F, a-female sta~fer ~t theiihotel when tRIJMP had stayed .there, who
             ··also.canfirmed th~ story. Speaking separately in Tune 2016, $aurce•B ~the
             . Jo.rm.e r top level ~ussian iritelligenc.e dffice~j,assei:ted tnat TRUMP's
               uno~hodox behavior ifl Russi~ over the year.s had p_rov.ided~tle        0
                                                                                           "


               authojiti_.~s there..witfi~etfoug~ embarrassing,material.on the now . -
              ~~Pl!filiqampJiesidential candldate to be abJe ttj'. blaa·klnail him if they so
             :Wished~
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                          Hillary CLJNTON (being circulated), Source B confirmed the file's
                          existence. S/he confided in a trusted compatriot that it had been collated
                          by Dep'a rtment K of the FSB for many years, dating back to her husband
                          Bjll's presidency, and comprised mainly eavesdropped conversations of
                          various sorts rather than details/evidence of unorthodox or
                         embarrassing behavior. Some of the conversations were from bugged
                         comments CLINTON had made on her various trips to Russia and focused
                         on things she had said which contradicte~ her current position on various
                         issues. Others were most probably from phone intercepts.

                 6. Continuing on this theme, Source G, a senior Kremlin official, confided
                     that the CLINTON dossier was controlled exclusively by chief Kremlin
                     spokesman, Dmitriy PESKOV, who was responsible for
                    compiling/handling it on the explicit instructions of PUTIN himself. The
                    dossier however had not as yet been made available abroad, including to
                    TRUMP or his campaign team. At present it was unclear what PUTIN's
                    intentions were in this regard.
                     '


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                    COMPANY INTELLIGENCE REPORT 2016/086




                   RUSSIA/CYBER CRIME: A SYNOPSIS OF RUSSIAN STATE SPONSORED AND
                   OTHER CYBER OFFENSiVE (CRIMINAL) OPERATIONS


                   Summary

                         Russia has extensive programme of state-sponsored offensive cyber
                         operations. External targets include foreign governments and big
                         corporations, especially banks. FSB leads on cyber within Russian
                         apparatus. Limited success in attacking top foreign targets like G7
                         governments, security services and JFis but much more on second tier
                         ones through IT back doors, using corporate and other visitors to Russia

                        FSB often uses coercion and blackmail to recruit most capable cyber
                        operatives in Russia into its state-sponsored programmes. Heavy use also,
                        both wittingly and unwittingly, of CIS emigres working in western
                        corporations and ethnic Russians employed by neighbouring
                        governments e.g. Latvia

                        Example cited of successful Russian cyber operation targeting senior
                        Western business visitor. Provided back door into important Western
                        institutions.

                        Example given of US citizen of Russian origin approached by FSB and
                        offered incentive of "investment" in his business when visiting Moscow.

------:__,_ _ __ - Problems however for Russian_autho..riSies themselves in countering local
                   hackers and cyber criminals, operating.outside sti'tecontro[ Ce-nii-arBank
                   claims there were over 20 serious at tacks on correspondent accounts
                   held by CBR in 2015, comprising Roub les several billion in fraud

                       Some detail~ given ofleading non-state Russian cyb~r criminal groups
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              western governments; penetrating leading foreign business corpora~i~ns,
              especially banks; domestic monitoring of the elite; and attacking poht1cal
              opponents both at home and abroad. The former intelligence officer
              reported that the Federal Security Service (FSB) was the lead     .
              organization within the Russian state apparatus for cyber operations.

          2. In terms of the success of Russian offensive cyber operations to date, a
               senior government figure reported that there had been only limited
              success in penetrating the "first tier" foreign targets. These comprised
              western (especially G7 and NATO) governments, security and intelligence
              services and central banks, and the IFis. To compensate for this shortfall,
              massive effort had been invested, with much greater success, in attacking
              the "secondary targets'', particularly western private banks and the
              governments of smaller states allied to the West. S/he mentioned Latvia
             in this regard. Hundreds of agents, either consciously cooperating with
             the FSB or whose personal and professional IT systems had been
             unwittingly compromised, were recruited. Many were people who had
             ethnic and family ties to Russia and/or had been incentivized financially
             to cooperate. Such people often would receive monetary inducements or
            contractual favours from the Russian state or its agents in return. This
            had created difficulties for parts of the Russian state apparatus in
            obliging/indulging them e.g. the Central Bank of Russia knowingly having
            to cover up for such agents' money laundering operations through the
            Russian finaricial system.

        3. Iri terms of the FSB's recruitment of capable cyber operatives to carry out
            its, ideally deniable, offensive cyber operations, a Russian IT specialist
            with direct knowledge reported in June 2016 that this-was often done
            using coercion and blackmail. In terms of 'foreign' agents, the FSB was
           approaching W'S citizens of Russian (Jewish) origin on business trips to
           Russia. In one case a US citizen of Russian ethnicity had been visiting
           Moscow to attract investors in his new information technolotw program.
           The FSB dearly knew this and had offered to provide seed capital to this
           person in return for them being able to access and modify his IP, with a
           vi~ tg ,!a,rn~~g pr_!ority foreign targets by planting a Trojan virus in the
          software. The _US visitor was told this.was common practice.TheFSB also
          had implied significant operational success as a result of installing cheap
          Russian IT games containing their own maJwarEl unwittingiy by targets
          on their PCs and other platforms.

             In amore advanced and successful FSB ogeration, an IT operator inside a ·
         .- le,aqing)~ussian SO.E, wh0 previously had·~_een eJll,ployed on con,v.enti<mal
            (defensive) IT work-:tJiere, had been under instruction for the lastyear to
        ·- ccm~uctan offensive:cyaer. oper:ation against a fore~gn dh~eetor of the.
            company. :Although the latter was apparently an infrequent visitor to
         · Russja~ the RSlknew suecessfully hae 1p,en.~trated_this;.perscmal 1::r and .
           thro·ugh tliis had' managed to acj:ess various important institutions in the
          •Westthr~ug]l~t§e~aa~k'<d001t.     _:·             .       -            .,  __,
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              s. In terms of other technical IT platforms, an PSB cyber operative flagged
                 up the 'Telegram' enciphered commercial system as having been of
                 especial concern and therefore heavily targeted by the FSB, not least
                 because it was used frequently by Russian internal political activists and
                 oppositionists. His/her understanding was that the FSB now successfully
                 had cracked this communications software and therefore it was no longer
                 secure to use.

             6. The senior Russian government figure cited above also reported that
                 non-state sponsored cyber crime was becoming an increasing problem
                 inside Russia for the government and authorities there. The Central Bank
                 of Russia claimed that in 2015 alone there had been more than 20
                 attempts at serious cyber embezzlement of money from corresponding
                accounts held there,-comprising several billions Roubles. More generally,
                s/he understood there were circa 15 major organised crime groups in the
                COUJltry involved in cyber crime, all of which continued to operate largely
                outside state and FSB control. These included the so-called 'Anunak',
                'Buktrap' and 'Metel' org~nisations.


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/             COMPANY INTELLIGENCE REPORT 2016/095



              RUSSIA/US PRESIDENTIAL ELECTION: FURTHER INDICATIONS OF
              EXTENSIVE CONSPIRACY BETWEEN TRUMP'S CAMPAIGN TEAM AND THE
              KREMLIN

              Summary

                             Further evidence of extensive conspiracy between TRUMP's campaign
                             team and Kremlin, sanctioned at highest levels and involving Russian
                             diplomatic staff based in the US

                             TRUMP associate admits Kremlin behind recent appearance of DNC e-
                             mails on WikiLeaks, as means of maintaining plausible deniability

                             Agreed exchange of information established in both directions. TRUMP's
                             team using moles within DNC and hackers in the US as well as outside in
                             Russia. PUTIN motivated by fear and hatred of Hillary CLINTON. Russians
                             receiving intel from TRUMP's team on Ru·s sian oligarchs and their families
                             in US

                       Mechanism for transmitting this·intelligence involves "pension"
                       disbursements to Russian emigres living in US as cover, using consular
                     ' officials in New York, DC and Miami

                - · Suggestion fro'm source clos_e to TRUM~ and MANAFORT that Republican
                    campaign team happy to have·Russia as media bogeyman to mask m0re
                    extensive corrupt business-ties to China and other emerging countries


            Detail

                                       in
               1. - Speaking confidence to acomI:Jatriotin late July-2016:-source E~ an
                     ethnic Russian 'Clos~~ ass0ciate ofR:epubJkan US,Jpresidenfial ~andid~te
                     Donald TRUMP, admitted that tlie're was a well-developed conspiracy of
                     co-operation betw,een them and tbe Russian leadership. This~as
                     managed oni:he TRUMP s!~e bytlle Republican candiaate's c~mpaign
                    _man~ger, Paul MAN~FOR'f, who was usj~g forejgn poJicy adVisor, Carter
                   -RAGE, and o'lliers as'inter:nied'iaries. T.he two ·sfries had a mutual interrest
                    in defeating Democratic presidential candidate Hillary CLINTON, whom
                   ~r;esident B~T-i1N aeparentl~~0~hfha~ed,_~nd,fe;ir:ed. · .,.                ,

                 lJiter ali~, S$!lin:ce ,r;,.aclmo~leqg~a that tbe Ru.s~jan regime had been
                  Behiqa.tne recent.leak df (JJibarrassing e~mail m·ess~ges, emanating from
                 the Democratic National Committee (DhlC), to the WikiLeaks platf9rm.
                 ':' .   .       - •   '    <    '    !o.   "-,if<•   ::)1,   ·;    "'~     -.    ' "
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                The reason for using WikiLeaks was "plausible deniability" and the
                operation had been conducted with the full knowledge and support of
                T 'R UMP and senior members of his campaign team. In return the TRUMP
                team had agreed to sideline Russian intervention in Ukraine as a
                campaign issue and to raise US/NATO defence commitments in the
                Baltics and Eastern Europe to deflect attention away from Ukraine, a
                priority for PUTIN who needed to cauterise the subject

            3. In the wider context of TRUMP campaign/Kremlin co-operation, Source E
                claimed that the intelligence network being used against CLINTON
                comprised three elements. Firstly there were agents/facilitators within
                the Democratic Party structure itself; secondly Russian emigre and
                associated offensive cyber operators based in the US; and thirdly, state·
               sponsored cyber operatives working in Russia. All three elements had
               played an important role to date. On the mechanism for rewarding
               relevant assets based·in tl1e US, and effecting a two-way flow of
               intelligence and other useful information, Source E claimed that Russian
               diplomatic staff in key cities such as New York, Washington DC and
               Miami were using the emigre 'pension' distribution system as cover. The
               operation therefore depended on key people in the US Russian emigre
               community for its success. Tens of thousands of dollars were involved.

           4. In terms of the intelligence flow from the TRlJMP team to Russia, Source
              E reported that much of this concerned the activities of business
              oligarch·s and their families' a·ctivities and assets in the US, with which
              PUTIN and the Kremlin seemed preoccupied.

           5. Commenting on the negative media publicity surrounding alleged
               Russian interference in the US election campaign in support of TRUMP,
               Source E said he understood .that the Republican candidate and his team
              were relatively relaxed about this because it deflected media and the
              Democrats' attention away from TRUM'P's business dealings in China and
              qther emerging markets. Unlike in Russia, these were substantial and
              involved the payment oflarge bribes and kickbacks which, were t:hey to
              become public, would be potentially very damaging to their campaign.
                               - - -- -    ....   -   -- ... - - - - - - --
          6. FinaJly, rega-rding TRUMP's claimed'mJnimal ihvestment profile in Russia,
              a'separate,source with direct knowledge said this had not been for want.
             of trying. TRUMP'.s p~evi0us efforts had included exploring the real estate
             sect0r in St Petersbqrigas weJI as Mosc0vy hut in the end TRUMP had had
             to settle for,the use
                                . of e*tensive sexual sen.rices there from focal
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             pros~itute.s rather th'an business sucae~s.   .          ,     .
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I          COMPANY INTELLIGENCE REPORT 2016/94


           RUSSIA: SECRET KREMLIN MEETINGS ATTENDED BY TRUMP ADVISOR,
           CARTER PAGE IN MOSCOW (JULY 2016)


           Summary

                   TRUMP advisor Carter PAGE holds secret meetings in Moscow with
                   SECHJN and senior Kremlin Internal Affairs official, DJVYEKIN

                   SECHIN raises issues of future bilateral US-Russia energy co-operation
                   and associated lifting of western sanctions against Russia over Ukraine.
                   PAGE non-committal in response

                   DIVEYKIN discusses release of Russian dossier of 'kompromat' on
                   TRUMP's opponent, Hillary CLINTON, but also hints at Kremlin
                   possession of such material on TRUMP
                                                                                                j
          Detail

             1. Speaking in July 2016, a Russian sou-rce close to Rosneft President, PUTIN
                close associate and US-sanctioned individual. Igor SECHIN, confided the
                details of. a recent secret meeting between him and Visiting For-eign
                Affairs Advisor to Republican presidential candidate Donald TRUMP,
                Carter PAGE.

               According to SECHIN's associate; the Rosneft Presideni (CEO) had raised
               with PAGE the issues of future bilateral energy cooperation and
               prospects for an associated move to lift Ukraine-related western
               sanctions against.Russia. PAGE had reaGt;ed positively to this demarche
               bySECHIN but had been generally non-committal in response.

          -3~ S peaking"Separately, alsO"in JulY2016, an official clbse to Br;esidential -
               Administration Head,~ $. IVANOV, confided in a ~ompatriot that a s_enioi:
               ~olleague i:n the Internal Political Department of the PA, DIVYEKIN (nfd)
               also had met secretly -w ith PAGE on his recent visit Their agerida Had ·
               included DJVEYKIN raising a Classier of 'komprama~ the Kr,emlin .
              j> osses~ed ·on TRUMP's Democratic pr-esidentia} riv,~1, Hillary CLINJO~,
              and.i~ Bossible r.ele~s_e to the Repu~lican's campaign team.               .,

              Ho.;ever, _the ~remlin offfcial _close to S. lVANOV adde<;J that s/ne •believed
              DIVEYJ{}N also1had hinted. (or'inqicatedmore strongly) that tqe Russlan
             J!aq~rs[iipialso,had '*cimp~omat',pn TRUMP wliich !he latter shotlld bear
             in mind.in His .dealings with them·.
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I       COMPANY INTELLIGENCE REPORT 2016/097




        RUSSIA-US PRESIDENTIAL ELECTION: KREMLIN CONCERN THAT POLITICAL FALLOUT FROM
        DNC E-MAIL HACKING AFFAIR SPIRALUNG OUT OF CONTROL



       Summary

                Kremlin concerned that political fallout from DNC e-mail hacking operation is spiralling
                out of control. Extreme nervousness among TRUMP's associates·as result of negative
                media attention/accusations

                Russians meanwhile keen to cool situation and maintain 'plausible deniability' of
                existing /ongoing pro-TRUMP and anti-CLINTON operations. Therefore unlikely to be
                any ratcheting up offensive plays in immediate future

                Source close to TRUMP campaign however confirms regular exchange with Kremlin
                has existeq for at least 8 years, including intelligence fed back to Russia on oligarchs'
                activities in US

                Russians apparently have promised not to use 'kompromat' they hold on TRUMP as
                leverage, given high levels of volun_tary co-operation forthcoming from his team


      Detail
                                   .                         '
         1. Speaking in confidence to a trusted associate in late ~u ly 2016, a Russian emigre figure
                close to the Republican US presidential candidate Donald TRUMP's campaign team
                commented on the fallout frnm publidty surrounding the Democratic National
                Committee (DNC) e-mail ha.cking .. sczandal.• 'Ihe emigre said theref. was a high level of ;
                                                         ~


               anxiety within the TRUMP'·team <as. a •result of various accusations levelled against -· .
               them and Indications· from-tH_e...:~remtin ~liat - Pres1de'nt PUTIN and"offlers- inffie- ...:..:-~-·~
               leadership thought things had gone too far now and risked spiralling out of control.
                                                  -"
        2. Continuing on this theme, the emigre associate of TRUMP opined that tlie Kremlin
            wanted the situation to call)i . oiit for 'plausible deniability' to be maintained
           concerning its (extensive) pro-TRUMP and anti-CLINTON operations. S/he therefore
           judged that it was unlikely tHese. would be ratcheted up, at least for the time being.
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           Finally, the emigre said s/he understood the Kremlin had more intelligence on
           CLINTON and her campaign but he did not know the details or when or if it would be
          ;released. As far as. 'kompromat' (compromising information) on TRUMP were
           cionc~fned, although there was plenty of this, he understood the Kremlin had given its
           word that it would not be deployed against the Republican presidential candidate
           ~iven how helpful and co-operative his team had been over several years, and
          particularly of late.
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           COMPANY INTELLIGENCE REPORT 2016/100


          RUSSIA/USA: GROWING BACKLASH IN KREMLIN TO DNC HACKING AND
          TRUMP SUPPORT OPERATIONS


          Summary

                -   Head of PA IVANOV laments Russian intervention in US presidential
                    election and black PR against CLINTON and the DNC. Vows not to supply
                    intelligence to Kremlin PR operatives again. Advocates now sitting tight
                    and denying everything

             -      Presidential spokesman PESKOV the main protagonist in Kremlin
                    campaign to aid TRUMP and damage CLINTON. He is now scared and
                    fears being made scapegoat by leadership for backlash in US. Problem
                    compounded by his botched intervention in recent Turkish crisis

                    Premier MEDVEDEV's office furious over DNC hacking and associated
                    anti-Russian publicity. Want good relations with US and ability to travel
                    there. Refusing to support or help cover up after PESKOV

            -       Talk now in Kremlin of TRUMP withdrawing from presidential race
                    altogether, but this still largely wishful thinking by more liberal elements
                    in Moscow


         Detail

            1. Speaking in early August 2016; twow~ll-placed and established Kremlin
                 s0urces out:li11ed the div;isions.an9 backlash in Mosc0w arising frol'\1 the
                 l~aki~g cif Democratic,Natiop.al C~mmittee EDf:!C) e"mails and the wid:er
              - pro-11RUMP-operation 15elrig conaticted in the'US.:Head ·of Pres·iaeJ)tia r
                Administration, Sergei IVANOV; was ~ngry at·the·recent turn of events..
                He believed the Kremlin "team" involved, led by presidential spokesman
                Dmitriy PESKOV, haa gon_e to~ofar-in interfering in foreign affairs with
                their "elephant in a china shop bl.a ck PR". IVANOV claimed always to have
               opposed the handling and expfoitation of intelligence by this PR "team".
               Following the backlash ~gainst such foreign interference in US politics,
               IVANOV was advocating t~at the only sensible course of action now for
              the Russian leadersnip was-to "sjt tigpt and deny everything".




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                 to stop PESKOV playing an independent role in relation to the US going
                 forward and the source fully expected the presidential spokesman now to
                 lay low. PESKOV's position was not helped by a botched attempt by him
                 also to interfere in the recent failed coup in Turkey from a government
                 relations (GR) perspective (no further details).

                  The extent of disquiet and division within Moscow caused by the
                  backlash against Russian interference in the US election was underlined
                  by a second source, close to premier Dmitriy MEDVED EV (DAM). S/he
                  said the Russian prime minister and his colleagues wanted to have good
                  relations with the US, regardless of who was in power there, and not least
                  so as to be able to travel there in future, either officially or privately. They
                  were openly refusing to.cover up for PESKOV and others involved in the
                . DNC/TRBMP operations or to supp'oict his counter-attack of allegations
                 againstthe USG for its alleged hacking of the Russian government and
                 state agencies.

            4. According to the first source, close to IVANOV, there had been talk in the
               Kremlin of TRUMP being forced to withdraw from the presidential race
               altogether as a result of recent events, ostensibly on grounds of his
               psychological state and unsuitability for high office. This might not be so
               bad for Russia in the circumstances but in the view of the source, it
               remained largely wishful thinking on the part of those in the regime
               opposed to PESKOV and his "botched" operations, at least for the time
               being. -


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    I       COMPANY INffiLIGENCE REPORT 2016/101



I          RUSSIA/US PRESIDENTIAL ELECTION: SENIOR KREMLIN FIGURE oun1NES EVOLVING RUSSIAN TACTICS IN
           PRO-TRUMP, ANTI-CLINTON OPERATION


           Summary

                      Head of PA, IVANOV assesses Kremlin interventi on in US presidential electi on and outlines leadership
                      thi nking on operational way forward

                      No new leaks envisaged, as too politically risky, but rather further exploitation of (Wi ki leaks) material
                      a I ready disseminated to exacerbate divisions

                      Educated US youth to be targeted as protest(againstCLINTON) and swi ng vote in attempt to turn them
                      over to TRUMP

                      Russian leadershlp, Including PUTIN, celebrating perceived success to date in splitting US hawks and
                      elite

                     Kremlin engaging with severa l high profi le US players, Includi ng STEIN, PAGE and (former DIA Director
                     Michael Flynn), and fund ing their recent vi sits to Moscow


          Details

              1.     Speaking in confidence to a close colleague in early August 2016, Head of the Russian Presidential
                    Admi.nlst[.ation (PA), Sergei IVANOV, ~ s sessedthe impact and resu.lts of Kreml in intervention in the US
                    presidential election to date. Although most commentators believed that the Kremlin was behind the
                    leaked DNC/CUNTON e-mails, this remained technically deniable. Th·erefore the Russians would not
                    risk thei~ position for the time being with new leaked material, even to a third party like Wikileaks.
                    Ratherthe tactics would be to spread rumours and misinformati on about the content of what already
                    had 15een leaked and make up new content

             2.       Continuing on this theme, IVANOV said that the audience to be targeted by such operations was the
                     educated youth in America as the PA assessedthatthere was still a chance they could be persuadedto
                     vote. for Republican candidate Donald TRUMP as a protest ag~instthe Washington establishment (i~.
                     the form of Democratic candldateHillary.,CUNTON). The nope was tnat even1if she won, as a result of.
                    this CLINTON In power would be bogged ·down in working.for. interjia'l,rec0ncillation In the US, rather
                  _ tti_an ~gab~!<?. {Q.cus on forejgrJ pqJj:cy~whi ch would damage.Russla~ 'i nterests. This alsosh0uld·gjve·
                    President·PUTIN more room for manoeuvre fnthe run-up to Russia~s own presidential election in 2018.
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             Carter PAGE; and former DIA Director Michael Flynn, In this regard and as successful In terms of
             perceived outcomes.
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      COMPANY INTELLIGENCE REPORT 2016/102




      RUSSIA/US PRESIDENTIAL ELECTION: REACTION IN TRUMP CAMP TO RECENT NEGATIVE PUBLICllY ABOUT
      RUSSIAN INTERFERENCE AND LIKELY RESULTING TACTICS GOING FORWARD


     Summary

                TRUMP campaign Insider reports recent DNC e·mail leaks were aimed atswitchingSANDERS (protest)
                voters away from CUNTON and over to TRUMP

                Admits Republican campaign underestimated resulting negative reaction from US liberals, elite and
                media and forced to changecourseas result

               Need now to turn tables on CUNTON's use of PUTIN as bogeyman In election, although some
               resentment at Russian president's perceived attempt to undermine USG and system over and above
               swinging presidential election




        1.     Speaking in confidence on 9 August 2016, an ethnic Russian associate of Republican US presidential
               candidate Donald TRUMP discussed the reaction inside his camp, and revised tactics therein resulting
              from re<'.en't negative publicity conce~nlng Moscow's clandestine Involvement in the campaign.
              TRUMP's·assoclate reported that the a Im of leakingtheDNC e-mails to WI kl leaks during the Democratic
              Convention had been to swing supporters of Bernie SANDERS away from Hillary CU NTON and across to
              TRUMP. These voters were perceived·as activist and anti-status quo and anti-establlshmentand in that
              regard?ha-~lngmanyfeatures with the TRUMP camRalgn, inclugjnga visceral dlslikeof Hillary CLINTON.
              This'objective tia d been conceived and promoted,. Inter a Ii a,. oy.TRUMP's foreign poll cy adviser Caner
              PAGE who had discussed itdlrectlywith the ethnic Russian associate.

              Continuing-on this theme, the ethnic·Russlan
                             ••     'j1;.           -A..
                                                             associateofTRUM.P assessed·that the probt·em was that
              the TRUMP campai_gn had underestimated the strength of the negative reaction from liberals and
              especlallytheconserva'tiveellte to Russian interference. This was forcing a ~ethink and a likely change
              of tactics. The main objective in the short term was to check De;nocratic canClidate Hillary CUNTOflts
              successful exploitation of.the PUTIN as bogeyman/Russian inre·rference story to tarnfsh TRUMP and
             bolster her. owh (patriotic) credentials. The TRUMP campa\gn';/'J_·
                     '        -'I           '        .
                                                                            wa,s ..-. -
                                                                                       focusing.;_"'"
                                                                                                  on  -, ~
                                                                                                           tapping into·supportin :
             the Ame~ican television media to a~_hievethls, as they reckoned this resour~ had'been underused by
             tliem to a~te:                 -        ----          ......__ .     --               ---           ·- -           -
             However, TRUMP's associate also admitted that there was a f~ir amoun~                 qf
                                                                                              anger and•resentment
             within the·~epublican candidate's tea;rnat what wa·s percelveg lfy,PUTIN as;gi:>lngbeyood•the objective
             of weakening CLINTON and bolstering TRUMP, by attempting to'~ploitthe situationtounderminethe
             US government and democratic system more generally. It was unclear at present how this aspect of
         ,the situation would play out in the w~eks to come.
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              COMPANY INTELLIGENCE REPORT 2016/136



             RUSSIA/US PRESIDENTIAL ELECTION~ FURTHER DETAILS OF TRUMP LAWYER
             COHEN'S SECRET LIAISON WITH THE KREMLIN


             Summary

             - Kremlin insider reports TRUMP lawyer COHEN's secret meeting/s with Kremlin officials in
               August 2016 was/were held in Prague

            . - Russian parastatal organisation Rossotrudnichestvo used as cover for this liaison and premises
                in Czech capital may have been used for the meeting/ s

             - Pro-PUTIN lea.ding Duma figure, KOSACHEV, reportedly involved as "plausibly deniable"
               facilitator and may have participated in the August meeting/ s with COHEN

            Detail

            1. Speaking to a compatriot and friend on 19 October 2016, a Kremlin insider provided further
                details 'o f reported clandestine meeting Is between Republican presidential candidate, Donald
                TRUMP;s lawyer Michael COHEN and Kremlin representatives in August 2016. Although the
                communication betvv-een them had to be cryptic for security reasons, the Kremlin insider
                clearly
                  .    ,indicated to his/her friend that the reported contact/ s took place in Prague, Czech
                Republic.

            2. Continuing on this theme, the Kremlin insider highlighted ·the·importance o(the Russian
               parastatal organisation, Rossotrudnichestvo, in this contact-between TRUMP campaign
               representative Is and Kremlin officials. Rossotrudnichestvo was'being used as cover for this
               relationship and its office in Prague may well have been used to host the COHEN /Russian
               Ptesidei{tial Administration (PA) meeting/ s. lt was considered a ''plausibly deniable" vehicle
               for this, whilst remaining entirely under Kremlin control.

r::;:--    ·3:-'"'"The-Kremlin·ir:tsider went on toidentify leadingpro-~UTINUuma figure, Konsta~tin ­
                  KOSACHEV (Head of the Foreign R~lations Committee' a~ an itriport¥1t fiIDU'e·in the TRUMP
                 .campaign-Kremlin liaison operation. KOSA CHEV, al~q "pl~usibly deniable'' being_part of the
                  Russian legislature rather than executive, had facilitated the contact in Prague an(:! by
                 implicati~n, may haYe attended_ the ipeeting/s "".'_ith <;:?HE~ th~~e inAµg~~~-
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   what was considered an operationally "soft" EU country when it was judged too compromising
   for him to travel to the Russian capital.
             ~·~:

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                  RUSSIA/UKRAINE: THE DEMISE OF TRUMP'S CAMPAIGN MANAGER PAUL
                  MAN.AFGRT


                  Summary

                          Ex-Ukrainian President YANUKOVYCH confides directly to PUTIN that he
                          authorised kick-back payments to MANAFORT, as alleged in western
                          media. Assures Russian President however there is no documentary
                          evidence/trail

                          PUTIN and Russian leadership remain worried however and sceptical that
                          YANUKOVYCH has fully covered the traces of these payments to TRUMP's
                          former campaign manager

                          Close associate of TRUMP explains reasoning behind MANAFORT's recent
                          resignation. Ukraine revelations played part but others wanted
                          MANAFORr out for various reasons, especially LEWANDOWSKI who
                          remains influential


                 Detail

                     1. Speaking in late August 2016, in the immediate aft~rmath of Paul
                             MANAFORT's resignation as campaign manager for:l:JS Republican
                             presidential candidate Donald TRUMP, a well-placed Russian figure
                             reported on a recent meeting between President PUTIN and ex-President
                             YANUKOVYCH of Ukraine. This had been held in sei;:ret on 15 August near
                             Volgograd, Russia and the western media revelatjons about MANAFORT
                             and l:Jk:raine had featured prominently on the agel}_,~a. Y:A:NUKOVYCH had
...,._._ _ _..._ __,...._ ___E?E fi~e~ i!f PUIJ.!'J !h~ .h!ull4..authi>ris~an_d qrd.~s..uJ:>stantialkitk-back ..... - . - _
                             payments to MANAFORT as alleged b-yt sought to reassure him tjlat there
                            ,was no documentary trall left behind which coulq provide clear evidence
                             of this.
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         3. Speaking separately, also in late August 2016, an American political
            figure associated with Donald TRUMP and his campaign outlined the
            reasons behind MANAFORT's recent demise. $/he said it was true that
            the Ukraine corruption revelations had played a part in this but also,
            several senior players close to TRUMP had wanted MANAFORT out,
            primarily to loosen his control on strategy and policy formulation. Of
            particular importance in this regard was MANAFORT's predecessor as
            campaign manager, Corey LEWANDOWSKI, who hated MANAFORT
            personally and remained close to TRUMP with whom he discussed the
            presidential campaign on a regular basis.
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         COMPANY INTELLIGENCE REPORT 2016/111



         RUSSIA/!JS[ KREMLIN FALLOUT FROM MEDIA EXPOSURE OF MOSCOW'S
         INTERF.E{lENCE IN THE US PRESIDENTIAL CAMPAIGN


         Summary

                Kremlin orders senior staff to remain silent in media and private on
                allegations of Russian interference in US presidential campaign

                Senior figure however confirms gist of allegations and reports IVANOV
                sacked as Head of Administration on account of giving PUTIN poor advice
                on issue. VAJNO selected as his replacement partly because he was not
                involved in pro-TRUMP, anti-CLINTON operation/s

                Russians do have further 'kompromat' on CLINTON (e-mails) and
                considering disseminating it'after Duma Qegislative elections) in late
                September. Presidential spokesman·PESKOVicontinues to lead on this
                 .            .
                However, equally important is Kremlin objective to shift policy consensus
                favourably_to Russia in US post-OBAMA whoeverwins'. Both presidential
                candidates' opposition to TPP and TTlP viewed as a result in this respect

           •-   Senior Russian diplomat withdrawn from Washington embassy on
                account 0f potential exposure in us presidentia,l e_lettion operation/s


       Detail

         1. Speaking in confidence to a trusted compatriot-in mid, September 20i6, a
"'="--~-.- senier-member of the Russian Presjde11..ti~:I ~.c.!giJ.ni~tr~tieJ'! !P~) -'"- ___ _
              commented on the political fal19ut'from retent~western media
           - rev:elations about Moscow.'.s int~rvention-rirl".f~vour~ ofbdnald~TR:l:JMP and
             against Hillary CLIN'fOJ'1, in the'u,~ pre~dential etection.'TheP.~·offiCial
           5
             report~d"that tire issue had bea!!)meincreei~lY·S~ll~J.titre.,anq that · ..
             President PUT-IN had issued direct on deFs•t&at Kremlin ang\goyerpm_e nt
             insiders
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/              (KISLYAK's predecessor in Washington) who had urged caution and the
               potential negative impact on Russia from the operation/s. On the other
               side was former PA Head, Sergei IVANOV, backed by Russian Foreign
               rnt~lligence (SVR), who had advised PUTIN that the pro-TRUMP, anti-
              CLINTON operation/s would be both effective and plausibly deniable
              with litt1e blowback. The first group/shad been proven right and this had
              been the catalyst in PUTIN's decision to sack IVANOV (unexpectedly) as
              PA Head in August His successor, Anton VAINO, had been selected for the
              job partly because he had not been involved in the US presidential
              election operation/s.

          3. Continuing on this theme, the senior PA official said the situation now
              was that the Kremlin had further 'kompromat' on candidate CLINTON
              and had been considering releasing this via "plausibly deniable" channels
              after the Duma (legislative) elections were out of the way in mid-
              Sep~ember. There was however a growing train of thought and associated
              lobby, arguing that the Russians could still make candidate CLINTON look
             "weak and stupid" by provoking her into railing against PUTIN and
             Russia without the need to release more of her e-mails. Presidential
             Spolcesman, Dmitriy PESKOV remained a key figure in the operation,
             although any final decision on dissemination of further material would be
             taken by PUTIN himself.

         4. · 'fhe senior PA official also reported that a1growlng element in Moscow's
              interv:ention in the US presidential election campaign was the objective of
             shifting the US political consensus in Russia's perceived interests
              regardless of who won. It basically comprised.of pushing candidate
              CLINa'ON away from President OBAMA's policies. The best example of
             this was-that both candidates now openly opposed the draft trade
             agreements, TPP and'TTIP, which were assessed by.Moscqw,as
             8ettimental to Russian inter-.ests. Other issues where the Kremlin was
             looking to shift the US policy conse'n suswere Ukraine and Syria. Overall
            however, the presidential election was conSideve_d still te be too cl0se to
            aall.
                                              - - -- -
         5. Finally, speakingseparatelyto the same compat'riot; a s~ni0J. Rl!ssiin
                                                                                             ~--   -   ..____

             MFA official reported that as-a pr.ophy;lactic.-me~sure, arleadlng Rus~ian
             diplomat, Mikhail KULAGIN; ,had been withdrawn from Washington at
            .s}lort-notice,because_Moscow feared his heavy invoivementf in the l::JS
             presideJl!ial eleation op~raffon, including tlie s0-calfed vefel'an~"~ensians
            ruse 1(re~ort~d previously)) wouJd be e~posed in,t he·metlia th~Iie. JcIJs
            reJ!>lacemen~.·Andr.ei BONDAREV howev,~r was clea!_l,in this,regard.
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       <;.9mpan~ Comment

       Tfie substance of what was i:eported by the senior Russian PA official in paras 1
       and 2 above, including the reasons for Sergei IVANOV's dismissal, was
       corroborated independently by a former top level Russian intelligence officer
       and Kremlin-insider, also in mid-September.

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I          COMPANY INTELLIGENCE REPORT 2016/112



           RUSSIA/US PRESIDENTIAL ELECTION: KREMLIN-ALPHA GROUP CO-
           OPERATION


           Summary

              -    Top level Russian official confirms current closeness of Alpha Group-
                   PlJTIN relationship. Significant favours continue to be done in both
                   directions and FRIDMAN and AVEN still giving informal advice to PUTIN,
                   especially on the US

                   Key intermediary in PUTIN-Alpha relationship identified as Oleg
                   GOVORUN, currently Head of a Presidential Administration department
                   but throughout the 1990s, the Alpha executive who delivered illicit cash
                   directly to PUTIN

                   PUTIN personally unbothered about Alpha's current lack of investment in
                   Russia but under pressure from colleagues over this and able to exploit it
                   as lever over Alpha interlocutors


          Detail

             l:. · SpeaKing to a trusted compatriot in mid-September 2016; a top level
                 Russian government official commented on the fiistory apd current state
                of relations between Ptesident PUTIN ano the Alpha Group of businesses
                led by.oligarchs Mikhail'-FRIDMWN, Petr AVEN ~ifd; Ger.man KHAN~ The·
                Russian government figure reported that althougb they had had their ups
                and dow.ns, the leading figures i_n Alpha currently were on very good
                terms•with PUTIN. Sigriificantfaveurs cql_itinue(:Jto be dQne in b~tli
-........------ directions; primarily political ones·for PUTIN anct~business/legahmes ·for­
               Alpha. Also, FRIDMAN and AVEN continued to gi,ve inforJPal advice'to
                PUTJNron foreign policy, and es'.g' eaially aboutth·l tJs whe,ne he d(~~usted
               advice being given to him by officials.               ·
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          u'."$ed by FRIDMAN and AVEN to deliver large amounts of illicit cash to the
          ~u~sian president, at that time deputy Mayor of St Petersburg. Given that
          iind the,continuing sensitivity of the PUTIN-Alpha relationship, and need
          for plausible deniability, much of the contact between them was now
         'indirect and entrusted to the relatively low profile GOVORUN.

           The toEJevel Russian government official described the PUTIN-Alpha
           V"eJationship as both carrot and stick. Alpha held 'kompromat' on PUTIN
           and his·corrupt business activities from the 1990s whilst although not
         ' -gerson~lly overly bothered by Alpha's failure to reinvest the proceeds of
           its TNK oil company sale into the Russian economy since, the Russian
           ,P,r~sid~.-it was.able to use pressure on this count from senior Kremlin
           colleagues as a lever on FRIDMAN and AVEN to make them do his
           pplitical bidding.        ·
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      COMPANY INTELLIGENCE REPORT 2016/113



      RUSSIA/US PRESIDENTIAL ELECTION- REPUBLICAN CANDIDATE TRUMP'S
      PRIOR ACTIVITIES IN ST PETERSBURG


      Summary

              'Fwo knowledgeable St Petersburg sources claim Republican candidate
              TRUMP has paid bribes and engaged in sexual activities there but key
              witnesses silenced and evidence hard to obtain

              Both,believe Azeri business associate of TRUMP, Araz AGALAROV will
              know the details

     Detail

              Speaking to a trustep compatriot in September 2016, two well-placed
              sources based in St Petersburg, one in the political/business elite and the
              other involved in the local services and tourist industry, commented on
              Republican US presidential candidate Donald TRUMP's prior activities in
              the city.

           Both kilew TRUJYJP had visited St Petersburg on several occasions in the
          past'C!f.ld 11.ad-been interested in doiqg business·.geals there involving·i:eal
          estate. The local business/political eHte figure reported that TRUMP had
          paid bribes there to further his interests but very discreetly and only
          through affiliated_;c0,mpal)Jes, making.it yery~ha[d to prove~ The· local
          serv,i2es industry sou11ce t~po~ted tha~T.RUNtP-had partidpated in sex
          parties in the city too, but that all direct 'witnesses to this recently had
          been "silenced" i.e. bribed or c;oerced to disapp_ear.

          The tivo St Petevsburg figiu_-'es·cited· believed ailtA-ze'ni busjness'figure;
             - ..c·-- -  ....~     --         -   _ ,,,,.,,,...,,. - · ~ · ~ ~- -~ ......... ___...
          Araz A.GALAROV (with offi.<;es in Bakwand London) had been closely-
          involved with TRPMP in Russia and_w ould ki'iow.-most ofthe details of
          what tne Republican. presidential ca;qdidate ha! get.uB t~tliere.
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          COMPANY 'INTELLIGENCE REPORT 2-0161130



          RUSSIA: KREMLIN ASSESSMENT Of! TRUMP AND RUSSIAN INTERFERENCE IN US
          PRESIDENTtAL ELECTION


       Summary

       -      Bu.yar's remorse·,sets In with Kreml£n over TRUMP support operation In US ptesldentlal
            elecCkln. Russi.an r.sadershlp dJsappolnt-&d U'lal leaked e·malls on CLINTON have not had
            greater impact moampaJgn

       -      Ru.sslans have..Injected further antf..CLINTON material into 1he ·ptatJsibly denlable' leakS
            plpelfne which win oontinue to s..tJrtace, btJl best material already In publlo domain

              PUTIN angry with senfot ofti cm.ts who "ovetpromisecr on TRUMP an<l furthet' heads likely to
            roll as res..tJlt. Foreign Mlnlster LAVROV may be next

      -     TRUt~P support~d by Kremltn because seen as divisive, anli·establlshrnettt candidate who
           woofd shak~ up c.ummt International status quo In Russia's favor. Lead on TRUMP operation
           moved from Foref.gn Ministry to FS:B and then to.'ptt:l-sldentlal administration where it now sits


      Detail

    · 1. Speaking separ-atejy· fn oonfidenCG lo a trusted compatflot In ·eady October 2016! a senior
            Russian leadership figure and a Fornign Mllilsby oftlclaJ repo~ed on recent developments
            concemtn9 !he ~reml~n's operation to support Republlcf!!I candfdate.Oonakl TRUMP In the
            US p'resldentlal eleciJon.. The senlor leadershCp fi!}'ure said that a degree of buyer's remorse
            was set1lng in among Russian le~ders conCGrnlngiRUMP. PUTIN a~nd his colleagues were
           surprised and disappoin:ted that leaks of Oernoc.ratlc oondtdato. Hillary CU NTON 's haekoo
           e·malls had not nad greater Impact on the campaign.
     .2.. Contlriulog on this theme, the senlor.Je.adershlp figure comment·ed that a stteam of further
r- ___ _hacked CLINTON.material already.had.bee.n injected.by the KremtlnJnto:campJlanl western _
          .med fa outlets flk~ Wlklleaks, which r.amatned at .le.ast "plauslblY, dan~l9", ~~ the stream of
           these would {:Ontlnue through Octooor and up to t~ electlol\. Howevai slhe understood lhal
          the besl mt!terlru the Russians llad afreaqy was .o~t and there Y,.iera.h1> real g~m~changars
           . to ociine. '                                                              ·                   ~-
     3. The Russia!') Fore~gn M£nlstry official, who had direct ac~ss to.the TRUMP-supr;ic»rt
       "' operatioh, 1eporte~d.tnaf1fUTJN was iingtY,·at hEs~ su_bordtn_ate·~ov~rl~roip!&iag"'"1o~il~,,.
     . . Republlcan ~presrdentlar ~dliaie. bo1h ln terms {)f hi~ Qnanc~s ancl)eliati~l~y anQ being
          ·'abJe to oov.e.J! andJ.or. co0.tit1;fn ·tij!lrtrJS1ba,_~kla.Sh·overr Kr:enilln imtriereaoe. ~re~h\a.& ~
       _ therefote \v~ra llkajy to r.olJ. witfl .lh~ M·FA the eaSl_~st target. lrq.nl~ly, c!eQlte h~con~stent
 ~       . urg1"1Q o1 c~~on,~-th~~~~e~ri Mlntstet, ~VB~'¥~Qulij1ba ~e rae~ql)'.Q1:!2-tSP~
     4. Asked' to explain wny Pl:3ff'N.~!l'fJ~too·-Kteflliln had!launen.ed·sy~n al-asgtfsslve ir'RtJMP
       . SUPf>Orl ope_(atlo1r1n t~~~'P'i,CA, tfi~ ~~NQfflq~~ s~~~i hat !lYS~l~~~~d~),qo l1JlS&t;t1le               .
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   Cllsadvahtag'ing the country. TRUMP wa.s viewed as dMsi1Je In disrupting UH~ whole US
   P,Qlltlcal system; anti-Establishment: and a pragmatist with whom Uu~y could do buslness. As
   th.e TRUMP sum:iort operation had galned momMtum. control of it had passed from the MFA
   to. the FSS and than into the pres:1dential admfnlstraU.on where It rema£ned. a reflectlOI'\ of lts
   gtowin.g slgnlficar1oe over time. There was still a view In the Kremlin that TRUMP would
  £ Cllntintia ·.as a (~!vfslve}. polltfcal force even If he last the presidMCY and may tun for' and be
   e1BCted to anotner pub11c omce.

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              COMPANY INTELLIGENCE REPORT 2016/134



              RUSSIAZUS PRESIDENTIAL ELECTION: FURTHER DETAILS OF KREMLIN LIAISON WITH
              TRUMP CAMPAJGN

                      '"'"'
              Summary

             - Close as5odate 9f SECHTN confirms his secret meeting in Mose.ow with Carter PAGE in July

             - Substance includ~d offer of large s take in Rosneft in retum for lifting sanctions on Russia. PAGE
               confirms.this is TRUMP's intention

             - SECHIN continued to think TRUMP could win presidency up to 17 October. Now looking to
             reorientat~. his engagement with the US

             - Kremlin insider highlights importance.ofTRUMP's lawyer, Michael COHEN in covert
                 relationship with Russia. COHEN' s wife is of Russian descent and her father a leading property
            · ., de:veloperin Moscow


            Detail

            1. Spealqng to a trusted compatriot in mid October 2016, a close associate of Rosneft President
                 and PUfl!'I ally fgor' SECHIN elaborated on .therepoqed secret meeting between the latter
             '" ·and•Qiiter PAGE, of US Republican presidential candiqate.'s foreign policy team, in M~scow in
                 July 2016. The secret meeting had been confirmed to him/her by a senior member of SECHIN's
                 staff, in addition to by the Rosneft President himself. It took place on either 7 or 8 July, the same
                day or the one after Carter P,AGE made a public speech.to the Higher Economic School in
                N1osco\V:          ·                              ·

                       fu terms of the substance of their discussion, SECHIN' s associate.said that the Rosneft
                      ·President was so keen to Lift personal and corporate western sancti0ns iinposed.on the
----................-:company; that hei>ffered PAGE/ TRUMP's associatesihe·0rokera-ge of-up·to a 19 per cent -
                     . (privati$(?od) stake in Rosneft in return. PAGE nad expressed interest and confirmed that were
                  . ~TRUMP~leded-{fS president, then sanctions on'.Russia;\..•oulmb~lifted. .
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Source Comment

5. SECHIN's associate opined that although PAGE had not stated it explkitly to SECI-IlN, he had
   clea_rly implied that in terms of his comment on TRUMP's intention to lift Russian sanctions if
   el~ president, he was speaking with the Republican candidate's authority.
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        , C0MP1tNY INTELLIGENCE REPORT 2016/135



         RUSSIA/US PRESIDENTlAL ELECTION: THE IMPORTANT ROLE OF TRUMP
         L,<\WYER, COH_ENlN CAMPAIGN'S SECRET LIAISON WITH THE KREMLIN


         Summary_

           -    Kr.emJin insider outlines important role played by TRUMP's lawyer
                COHENJn secret liaison with Russian leadership
                  -"
               ·?COHEN engaged with Russians in trying to cover up scandal of
               . MANAFORT and exposure of PAGE and meets Kremlin officials secretly in
                 the EU in August in pursuit of this goal

               These secret contacts continue but are now farmed out to trusted agents
               in Kremlin-iinked institutes so as to remain "plausibly deniable" for
               Russiatl I'egime

               Further confirmation that sacKing of IVANOV and appointments ofVAINO
               and KIRIYENK0 linked to n·e ed to cover up;Kremlip's 'GRUMP support
               operation




           1. Speaking in confid~nce to a· longstanding compatriot friend in mid-
               October 2016, a Kremlin insider highlighted the i111-portans~ of _
               Republican presidential candidate Donald TRUMP's lawye-r, Michael
               COHEN, in the ongoing secret liaison r!!latlon5hip between the New York
               tycoon's campaign and the Russian leadership.,COREN's role had'gr.own
               following tile departune of. Paul MANNAFORT a,s T,_RUMP's campajgn
             -~ ......... __.,,,,
               TRUMP side. ..        - -__,..... ~·-- ·~-
              .manager in August 2016. Prior to t!lat MANNAFORT had led for the
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                overall·objective had been to "to sweep it all under the carpet and make
                sure.no connections·could be fully established or proven"

           3. Things had become even "hotter" since August on the TRUMP-Russia
              tratk. According to the Kremlin insider, this had meant that direct contact
              between the T_RUMP team and Russia had been farmed out by the
              Kremlin to .trusted agents of influence working in pro-government policy
              institutes like that of Law and Comparative Jurisprudence. COHEN
              however continued to lead for the TRUMP team.

           +. Refenting back to the (surprise) sacking of Sergei IVANOV as Head of PA
               in August 2016, his replacement by Anton VAlNO and the appointment of
               fonDer'Russian premier Sergei KIRJYENKO to another senior position in
               the PA, the Kremlin Insider repeated that this had been directly
               connected to the 'JlRUMP support operation and the need to cover up now
               that.it was being exposed by the USG and in the western media


       company C.ommeiit
        The Kremlin Jnsider was unsure of the identities of the PA officials with whom
        CO.H~N me~.seGretjy in Al!gust, or ~e exact date/sand locations o'fthe
        m~eting/s. There were significant internal security baFriers,being erected in the
        PA a~ tfie TRUMP issue1became more controversial and oamag1ng. However s/he
      · continued to try to.obtain _these.
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       COMPANYlNTELLtGENCE REPORT 2016/166



        US/RUSSIA: FURTHER DETAILS OF SECRET DIALOGUE BETWEEN TRUMP
        CAMPAIGN TEAM, KREMLIN AND ASSOCIATED HACKERS JN PRAGUE



        Summary

          -   TRUMB's repr:esentative COHEN accompanied to Prague in
              August/September 2016 by 3 colleagues for secret discussions with
              Kremlin representatives and associated operators/hackers

              Agenda included how to process deniable cash payments to operatives;
              contingency plans for covering up operations; and action in event of a
              CLINTON election victory
                  ?

              Some ft.!rther detafls of'Russian representatives/operatives involved;
              Romanian hackers employed; and use of Bulgaria as bolt hole to "lie low"

              Anti-CLINTON hackers a_nd other operatives paid by both TRUMP team
              and Kr~mlin, but with ultimate loyalty to Head of PA, IVANOV and his
              successor/s



          1. We reported previously (2016/135 and /136) on secretmeeting/s held
              in Prague, Czech Republic in August 2016 between then Republiean
             presidential candidate Donald TRUMP's representative, Michael COHEN
             and his interlocutors from the Kremlin working under cover of ~ussian
             'NGO: Ro.Ssotrudnic)'lestvo.

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        -3.                         reported that over the period March-September 2016
              " acompany called XBT/Webzilla and its affiliates had been using botnets
                and porn traffic to transtnit viruses, plant bugs, steal data and conduct
                "altering,operations'' against the Democratic Party leadership. Entities
                linked to one Aleksei GUBAROV were involved and he and another
                J;iaci<ing expert, both recruited under duress by the FSB, Seva
                KkPSUGOVICH, were significant players in this operation. In Prague,
                COHEN agreed contingency plans for various scenarios to protect the
               'operation, but in particular what was to be done in the event that Hillary
                CLINTON ~on the presidency. It was important in this event that all cash
                payments owed were made quickly and discreetly and that cyber and
                oth~r operators were stood down/able to go effectively to ground to
                coyer their traces. (We reported earlier the1t the involvement of political
               operatives.Paul MANAFORT and Carter PAGE in the secret TRUMP-
               Kremlin liaison 'had been exposed in the media in the run·up to Prague
               and that·dam_agc.limitatlon of these also was discussed by COHEN with
               the Kremlin representatives).
